                   Case 5:92-cr-00029-JRH-JEG Document 899 Filed 02/27/08 Page 1 of 1
%AO 247 (02/08) Order Regarding Motion for Sentence Reductio n


                                        UNITED STATES DISTRICT COURT
                                                                        for the

                                                             Southern District of Georgi a                                    U.S !) .-FILED
                                                                                                                                               COURT
                    United States of America )
                          V,             )                                                                                Zoo FEB 2 ? P .
                                                        : CR592-00029-00 5                                                                     4
                                Lester Bell ) Case No
                                                  USM No : 13611-01 8
Date of Previous Judgment : December 16, 1998         ) Sandra J. Poyson
(Use Date of Last Amended Judgment if Applicable) ) Defendant's Attorney


                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C . § 3582(c)(2 )

       Upon motion of 0 the defendant 0 the Director of the Bureau of Prisons © . the court under 18 U.S .C .
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U .S .C .
§ 994(u), and having considered such motion ,

IT IS ORDERED that the motion is :
          0 DENIED . 0 GRANTED and the defendant's previously imposed sentence of imprisonment ( as reflected in
                       the last judgment issued) of 240        months i s reduced to  time served, plus 10 days

1. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures )
Previous Offense Level :     38             Amended Offense Level :                                            36
Criminal History Category : II Criminal History Category:                                                      lI
Previous Guideline Range :                262       to 327     months Amended Guideline Range :                210        to 262     months

II . SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
0 The reduced sentence is within the amended guideline range .
D The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range .
   Other ( explain) :




III. ADDITIONAL COMMENT S




Except as provided above, all provisions of the judgment dated December 16, 1998                         shall remain in effect .
IT IS SO ORDERED.

Order Date :        February 27, 200 8


Effective Date :          2 " 2       7         C
                                                                                             Judge, U .S . District Cou r t
                        (if different from order date)                                           Printed name and title
